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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   VALDOSTA DIVISION

 HEATHER JONES,                                    *

                      Plaintiff,                   *
 v.                                                    Case No. 7:22-cv-134 (WLS)
                                                   *
 WALMART STORES EAST, et al.,
                                                   *
                   Defendants.
 ___________________________________               *


                                     JUDGMENT

      Pursuant to this Court’s Order dated December 3, 2024, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case.

       This 4th day of December, 2024.

                                           David W. Bunt, Clerk


                                           s/ Kathleen S. Logsdon, Deputy Clerk
